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UNITED STATES DISTRICT COURT ..... FILED
NORTHERN DISTRICT OF OHIO JAN 3 2019
Ryan D. Malone, §Case No.1:14-CR-438 NOFTHG AS RTE OF
Affiant, §Civil No.1:17-CV-2290
Vv. SAffidavit

UNITED STATES OF AMERICA §

Respondent, §

AFFIDAVIT

COMES NOW, Ryan D. Maloone, ("hereafter Affiant Malone"),
proceeding pro se, brings this Affidavit. Malone states that the
following is true under the penalty of perjury 28 U.S.C. §1746
to the best of his knowledge.
1.Affiant Malone states that he was transferred from FCI
Gilmore, West Virginia, on or about October 23; 2018:
2. Af€fiant Malone states he arrived at FCI Beaumont, Texas on or
about October 29, 2018:
3. Affiant Malone states that the denial of his 28 U.S.C. 62255
motion was sent to FCI Gilmore, and later forwarded to FCI
Beaumont;
4.Affiant Malone states that he did not receive the denial of
his 28 U.S.C. §2255 motion until December 13, 2018.

Affiant Malone states that the following is true under the
penalty of perjury, 28 U.S.C. $1746.

Respectfully Submitted,

Een BD. Maloa

Ryan D. Malone

SUB AND SWORN to before me tfi1 xC day of December
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‘thorized by the Act of July 7, 1955, as amended,
‘0 administer oaths (18 U.S.C.$4004).

 

 

Signature of Notary Public

My Commission Expires: _/___/
